  Case 21-60198      Doc 23    Filed 08/20/21 Entered 08/20/21 14:15:13          Desc Main
                                 Document     Page 1 of 7



                    IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE EASTERN DISTRICT OF TEXAS
                                TYLER DIVISION

IN RE:
                                                §
                                                §
JAMES M OLSON                                                 CASE NO. 21-60198
                                                §
xxx-xx-1279                                                      CHAPTER 7
                                                §
312 Flenniken St
                                                §
Gladewater, TX 75647-5676
                                                §
                                                §
                                                §
MARY H. OLSON
                                                §
xxx-xx-7765
                                                §
DEBTORS

                MOTION TO APPROVE SALE OF REAL PROPERTY
              LOCATED AT 3744 HIGHWAY 367 S, SEARCY, AR 72143,
           FREE OF LIENS, CLAIMS AND ENCUMBRANCES, WITH LIENS,
         CLAIMS AND ENCUMBRANCES TO ATTACH TO SALES PROCEEDS

Your rights may be affected by the relief sought in this pleading. You should read this
pleading carefully and discuss it with your attorney, if you have one in this bankruptcy
case. If you oppose the relief sought by this pleading, you must file a written objection,
explaining the factual and/or legal basis for opposing the relief.

No hearing will be conducted on this application unless a written objection is filed with the
Clerk of the United States Bankruptcy Court and served upon the party filing this pleading
WITHIN TWENTY-ONE (21) DAYS FROM THE DATE OF SERVICE shown in the
certificate of service unless the court shortens or extends the time for filing such objection.
If no objection is timely served and filed, this pleading shall be deemed to be unopposed,
and the court may enter an order granting the relief sought. If an objection is filed and
served in a timely manner, the court will thereafter set a hearing with appropriate notice.
If you fail to appear at the hearing, your objection may be stricken. The court reserves the
right to set a hearing on any matter.

TO THE HONORABLE U.S. BANKRUPTCY JUDGE JOSHUA SEARCY:


         COMES NOW, Diane Carter, the duly qualified and acting Chapter 7 Trustee for the

above-styled and numbered cause, and files this Motion to Approve Sale of Real Property

Located at 3744 Highway 367 S, Searcy, AR 72143 Free of Liens, Claims and Encumbrances,

with Liens, Claims and Encumbrances to Attach to Sales Proceeds (the “Motion”), pursuant to
  Case 21-60198       Doc 23     Filed 08/20/21 Entered 08/20/21 14:15:13          Desc Main
                                   Document     Page 2 of 7



11 U.S.C. §363(f) and Fed.R.Bankr.P. 6004(c), and in support hereof, would show the Court as

follows:

       1.      This Court has jurisdiction to hear this matter pursuant to 28 U.S.C. §§ 1334 and

157.   This matter involves the sale of property of the estate and, thus, constitutes a core

proceeding under 28 U.S.C. § 157(b)(2)(A) and (N).

       2.      On 05/06/2021, a voluntary petition under Chapter 7 of Title 11 of the United

States Code (the “Bankruptcy Code”) was filed by Debtors. Diane Carter is the duly appointed

and acting Chapter 7 Trustee.

       3.      As of the Petition Date, the following properties were identified by the Debtors on

Schedule A of their bankruptcy schedules:

               Asset            Asset         Liens                 Net Value        Statute
  a.        Description         Value                 Exemptions

  No.
   1 Appraised at 108k. $77,000.00 $45,579.54 $10,000.00 $21,420.46                 11 U.S.C. Â§
        Rebuilt single-                                                                522(d)(5)
        wide mobile home
        & .47 acres w/ 2
        shops.Debtor
        reduced price to
        80k and could not
        sell due to
        financing barriers
        on singlewide
        mobile home.3744
        Highway 367 S
        Searcy, AR
        72143-8746
 Total:                    $77,000.00 $45,579.54 $10,000.00 $21,420.46



       4.      Trustee has received an offer (the “Contract”) to purchase the Property from

Efrain Rodriquez (“Purchaser”) for the sum of $69,900.00 (the “Purchase Price”). A copy of the

Contract is attached hereto as Exhibit “A”.
  Case 21-60198         Doc 23     Filed 08/20/21 Entered 08/20/21 14:15:13            Desc Main
                                     Document     Page 3 of 7



       5.        Trustee requests authority to enter into the Contract and sell the Debtors’ interest

in the Property pursuant to its terms to Purchaser. Trustee believes the Purchase Price represents

the fair market value of the interest in the Property and that the proposed sale is in the best

interest of the estate. Trustee requests that (i) the sale be made “as is, where is” without any

representations or warranties concerning the condition, suitability or habitability of the Property;

(ii) that it be without any representations or warranties as to ownership, title, right or interest in

or to any fixtures, personal property or improvements on the Property.

       6.        Trustee requests authority to sell the interest in the Property free and clear of all

liens, claims and encumbrances pursuant to Section 363(f)(3), (4) and/or (5) of the Bankruptcy

Code with such liens, claims and encumbrances attaching to the sales proceeds.

       7.        Trustee further requests authorization to pay at closing and, at her discretion, the

ad valorem taxes due and owing on the Property, if any, and other closing costs as set forth in the

Contract. Closing costs would include the normal costs at a real estate closing including the

costs for a title policy and payment of the any commissions.            In addition, the total sales

commission of 6% -2.4% to the buyer’s agent and 3.6 to Seller’s agent.               Finally, Trustee

requests authorization to execute all documents necessary to consummate the closing of an

approved sale.

       8.        Trustee also requests that in the event this transaction does not close that the

Trustee is authorized to sell the Property to any third party who pays at least $69,900.00 to

purchase the property.

       9.        Trustee requests the fourteen-day stay under Bankruptcy Rule 6004(h) is waived

and the entry of the Sale Order and shall be effective and enforceable immediately upon entry.
  Case 21-60198        Doc 23     Filed 08/20/21 Entered 08/20/21 14:15:13            Desc Main
                                    Document     Page 4 of 7



                                             PRAYER

       WHEREFORE, Trustee prays that the Court enter an order pursuant to 11 U.S.C. § 363(f)

authorizing her to (i) enter into the Contract, (ii) sell the interest in the Property to Purchaser

pursuant to the Contract as described above free and clear of any and all liens, claims and

encumbrances with any and all such liens, claims and encumbrances attaching to the sale

proceeds (iii) pay ad valorem taxes and closing costs out of the sale proceeds, and (iv) in the

event that the Purchaser does not close, then the Trustee is authorized to sell the Property to any

third party who pays at least $69,900.00 to purchase the property (v)granting this motion and

granting the Trustee such other and further relief to which she is justly entitled.


DATED: August 20, 2021                                        Respectfully submitted,

                                                              BARRON & CARTER, L.L.P.
                                                              660 N. Central Expressway, #101
                                                              Plano, Texas 75074
                                                              Tel: (972) 422-9377
                                                              Fax: (972) 578-9707

                                                              By: /s/ Diane S. Carter______
                                                                  Diane S. Carter, Trustee
                                                                  TBA NO. 24043310



                                  CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a copy of the foregoing instrument was served on
the parties on the attached mailing list in accordance with LBR 9013(f) either through the
Court’s electronic notification system as permitted by Appendix 5005 III. E. to the Local Rules
of the U.S. Bankruptcy Court for the Eastern District of Texas, or by first class United States
Mail, postage prepaid on August 20, 2021 and the attached mailing matrix.



Beverly Baldridge
200 W. Mulberry Ave.
Searcy, AR 72143)
  Case 21-60198      Doc 23      Filed 08/20/21 Entered 08/20/21 14:15:13      Desc Main
                                   Document     Page 5 of 7



Centennial Bank                                      Cliff A Wade
c/o Cliff A. Wade, Baker Lopez                       Baker Lopez
5728 LBJ Freeway, Suite 150                          5728 LBJ Freeway
                                      represented by
Dallas, TX 75240                                     Ste 150
                                                     Dallas, TX 75240


JPMorgan Chase Bank, N. A.
14841 Dallas Parkway, Suite 425
Dallas, TX 75254



James M Olson                                        Carol Cross Stone
312 Flenniken St                                     Law Office of Carol Cross Stone
Gladewater, TX 75647-5676             represented by 1118 Judson Road
                                                     Longview, TX 75601


PRA Receivables Management, LLC
PO Box 41021
Norfolk, VA 23541


US Trustee
Office of the U.S. Trustee
110 N. College Ave.
Suite 300
Tyler, TX 75702



                                                         /s/ Diane S. Carter_________
                                                         Diane S. Carter
                  Case 21-60198   Doc 23     Filed 08/20/21            Entered 08/20/21 14:15:13     Desc Main
Label Matrix for local noticing            AT&T Document
                                                (p)                Page 6 of 7            Alpha Recovery Corp.
0540-6                                     Attn: Bankruptcy Dept.                         6912 S. Quentin St. 10
Case 21-60198                              208 S Akard St Suite 3700                      Englewood, CO 80112-4531
Eastern District of Texas                  Dallas, TX 75202-4206
Tyler
Fri Aug 20 14:10:21 CDT 2021
Beverly Baldridge                          Bank of America                                Bank of America NA
200 W. Mulberry Ave.                       P.O. Box 15026                                 PO Box 31785
Searcy, AR 72143-6709                      Wilmington, DE 19850-5026                      Tampa, FL 33631-3785



Brand Source/Citi Bank                     CHI St. Vincent Infirmary                      Diane Carter
Attn: Bankruptcy                           2 St. Vincent Circle                           660 North Central Expressway
PO Box 6403                                Little Rock, AR 72205-5499                     Ste. 101
Sioux Falls, SD 57117-6403                                                                Plano, TX 75074-6759


Carti                                      Centennial Bank                                (p)CENTENNIAL BANK ATTN SPECIAL ASSETS
POB 55050                                  c/o Cliff A. Wade, Baker Lopez                 P O BOX 1028
Little Rock, AR 72215-5050                 5728 LBJ Freeway, Suite 150                    CABOT AR 72023-1028
                                           Dallas, TX 75240-6340


Centennial Bank                            Chase Auto Finance                             Citibank, N.A.
c/o Cliff A. Wade                          14800 Frye Road                                5800 S Corporate Pl
Baker Lopez                                Fort Worth, TX 76155-2732                      Sioux Falls, SD 57108-5027
5728 LBJ Freeway, Suite 150
Dallas, Texas 75240-6340

Discover Bank                              Discover Financial                             Ethan Noakes
Discover Products Inc                      Attn: Bankruptcy                               214 Vincent St.
PO Box 3025                                PO Box 3025                                    Bradford, AR 72020
New Albany, OH 43054-3025                  New Albany, OH 43054-3025


First Security Bank                        JPMorgan Chase Bank, N. A.                     Mechanics Bank
Attn: Bankruptcy                           14841 Dallas Parkway, Suite 425                Attn: Legal Dept
PO Box 1009                                Dallas, TX 75254-8067                          PO Box 5610
Searcy, AR 72145-1009                                                                     Hercules, CA 94547-5610


James M Olson                              Mary H. Olson                                  PRA Receivables Management, LLC
312 Flenniken St                           312 Flenniken St                               PO Box 41021
Gladewater, TX 75647-5676                  Gladewater, TX 75647-5676                      Norfolk, VA 23541-1021



Carol Cross Stone                          Synchrony Bank                                 Synchrony Bank/Lowes
Law Office of Carol Cross Stone            c/o PRA Receivables Management, LLC            Attn: Bankruptcy
1118 Judson Road                           PO Box 41021                                   PO Box 965060
Longview, TX 75601-5117                    Norfolk VA 23541-1021                          Orlando, FL 32896-5060


Synovus Bank/GreenSky                      U.S. Attorney General                          US Trustee
Attn: Bankruptcy                           Department of Justice                          Office of the U.S. Trustee
PO Box 120                                 Main Justice Building                          110 N. College Ave.
Columbus, GA 31902-0120                    10th & Constitution Ave., NW                   Suite 300
                                           Washington, DC 20530-0001                      Tyler, TX 75702-7231
                  Case 21-60198           Doc 23       Filed 08/20/21         Entered 08/20/21 14:15:13              Desc Main
UT Health NE MD Anderson Cancer Center               CliffDocument
                                                           A Wade          Page 7 of 7                    White County
UT Texas of Tyler                                    Baker Lopez                                          119 West Arch
11937 US Hwy 271                                     5728 LBJ Freeway                                     Searcy, AR 72143-7723
Tyler, TX 75708-3154                                 Ste 150
                                                     Dallas, TX 75240-6340

Zwicker & Associates, PC
80 Minuteman Rd
Andover, MA 01810-1008




                   The preferred mailing address (p) above has been substituted for the following entity/entities as so specified
                   by said entity/entities in a Notice of Address filed pursuant to 11 U.S.C. 342(f) and Fed.R.Bank.P. 2002 (g)(4).


Centennial Bank
1300 W. Beebe Capps
Searcy, AR 72143




                 The following recipients may be/have been bypassed for notice due to an undeliverable (u) or duplicate (d) address.


(d)Diane Carter                                      (d)PRA Receivables Management, LLC                   End of Label Matrix
660 North Central Expressway                         PO Box 41021                                         Mailable recipients     33
Ste. 101                                             Norfolk, VA 23541-1021                               Bypassed recipients      2
Plano, TX 75074-6759                                                                                      Total                   35
